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           EXHIBIT G
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                                                                                       Public

                        UNITED STATES OF AMERICA
                                                                                       Exhibit




                                                                                                 exhibitsticker.com
                  BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:               Lina M. Khan, Chair                                       RX 277
                             Noah Joshua Phillips
                             Rebecca Kelly Slaughter
                             Christine S. Wilson
                             Alvaro M. Bedoya


 In the matter of:

 Intuit Inc.,                                     Docket No. 9408
    a corporation,
         Respondent.


  COMPLAINT COUNSEL’S REPLY TO RESPONDENT INTUIT INC.’S
SUPPLEMENTAL RESPONSE TO THE STATEMENT OF MATERIAL FACTS
      AS TO WHICH THERE IS NO GENUINE ISSUE FOR TRIAL
        Complaint Counsel is filing this reply to clarify the record, specifically

Government Exhibit (GX) 342 (Diana Shiller’s June 9, 2022 Declaration), ¶¶ 220, 221,

and Complaint Counsel’s Statement of Material Facts, ¶ 132 (citing to GX 342 ¶¶ 220,

221).

I.      Diana Shiller Declaration
        Diana Shiller, an investigator in the Division of Marketing Practices, submitted a

declaration in this matter. GX 342. In her declaration, Ms. Shiller provided a summary

of complaints recorded in the Consumer Sentinel Network (“Sentinel”) as of March 28,

2022. GX 342 ¶¶ 220, 221. Ms. Shiller stated that “the FTC has received 571 consumer

complaints, from January 1, 2016 to March 28, 2022, about ‘free’ TurboTax.” Id. at ¶ 220.

Ms. Shiller identified these complaints using the following methodology:

              Ms. Shiller searched for the words “TurboTax” or “Turbo Tax” in Sentinel.

               She then filtered the search in Sentinel for the keyword “Free[.]”

              Ms. Shiller then exported the complaint information to a spreadsheet, and

               further filtered the complaints in the following ways:




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                  o Filtered for the relevant timeframe (January 1, 2016, through March

                      28, 2022).

                  o Removed complaints that did not identify TurboTax or Intuit as the

                      company complained about.

                  o Filtered out complaints that mentioned QuickBooks, Mint,

                      GreenDot, advance tax refunds, or the TurboTax desktop product.

                  o Removed duplicate complaints.

This searching and filtering process resulted in the 571 complaints referenced in Ms.

Shiller’s declaration.

       After completing the above steps, Ms. Shiller further filtered the 571 complaints

for complaints recorded between January 1, 2021 and March 28, 2022. She identified 161

such complaints. Id. at ¶ 221. Ms. Shiller also filtered the 571 complaints for complaints

recorded between November 1, 2021 and March 28, 2022. She identified 60 such

complaints. Id.

       Ms. Shiller reviewed the complaint narrative of the 60 complaints, and sorted

them into the following categories, based on what consumers stated in their complaint:

“Thought it was free,” “Charged,” and “Advertising.”1
       Based on her review, Ms. Shiller determined that 57 out of the 60 consumers

thought they were filing for free; 27 out of the 60 consumers mentioned they saw

advertising indicating their tax filing will be free; and 55 out of the 60 consumers paid

TurboTax when they thought their tax filing will be free. Id.

II.    Second Review of Complaint Data
       Pursuant to 16 C.F.R. 3.31(b)(1), Complaint Counsel provided names of

consumers who made the complaints referenced above and underlying complaint data

to Intuit as part of their initial disclosures. 16 C.F.R. 3.31(b)(1) requires the disclosure of

  1 Ms. Shiller identified consumers who mentioned TV advertising and consumers who
mentioned any other advertising and combined them for purposes of her declaration.

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“each individual likely to have discoverable information relevant to the allegations of

the Commission’s complaint ….” Intuit objected to the number of consumers in

Complaint Counsel’s initial disclosures and has taken the position that many

complaints are not relevant. Intuit also has indicated it will likely depose a great many

of the consumers disclosed pursuant to initial disclosures in this matter.

      Upon learning about Intuit’s objections and intentions regarding consumer

depositions, Complaint Counsel and staff working at Complaint Counsel’s direction re-

reviewed the 571 consumer complaints referenced in Ms. Shiller’s declaration.2 Taking a

more conservative approach, Complaint Counsel narrowed the set of complaints to

those that appear on their face to go to the core of Count One of the Complaint. This

more conservative approach resulted in a set of 228 complaints recorded in Sentinel

between January 1, 2016 and March 28, 2022 that are wholly relevant to Count One of

the complaint. Of the 228 complaints, 44 were recorded between January 1, 2021 and

March 28, 2022, and 26 were recorded between November 1, 2021 and March 28, 2022.

      Of the 26 complaints referenced above:

          1) 26 of 26 consumers indicated that they believed or TurboTax

             communicated that filing taxes with TurboTax would be free;

          2) 22 of 26 consumers mentioned advertising about a free TurboTax option;

             and

          3) 20 of 26 consumers indicated they were charged for or paid for TurboTax.

      To further clarify, Complaint Counsel have attached, as Attachment A, a chart

that includes each complaint reference number, the consumer names, the date the

 2 Complaint Counsel’s Motion for Summary Decision was fully briefed based on the
record that existed at the time it was filed. Therefore, this reply is limited to the
complaints referenced in Ms. Shiller’s declaration. Additional consumer complaints
have been submitted to Sentinel since the filing of Complaint Counsel’s Motion for
Summary Decision. Complaint Counsel is not relying on the additional complaints in
connection with the pending Motion, but reserves the right to rely on any additional
complaints in any evidentiary hearing should the Commission deny the pending
motion in whole or part.

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complaint was recorded, indications of whether the complaint was counted for Ms.

Shiller’s June 9, 2022, declaration and if so, how, and an indication of whether and how

the complaint was counted upon re-review, and the complaint narratives.


                                                Respectfully submitted,


 Dated: September 29, 2022                        /s/ Rebecca Plett
                                                Roberto Anguizola, IL Bar No. 6270874
                                                Rebecca Plett, VA Bar No. 90988
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                                                Federal Trade Commission
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                                                Counsel Supporting the Complaint
                                                Federal Trade Commission




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                               CERTIFICATE OF SERVICE
       I hereby certify that on September 29, 2022, I electronically filed the foregoing
Complaint Counsel’s Reply to Respondent Intuit Inc.’s Supplemental Response to the
Statement of Material Facts as to Which There is No Genuine Issue for Trial and
Attachment A electronically using the FTC’s E-Filing system, which will send
notification of such filing to:
April Tabor                                     Hon. D. Michael Chappell
Office of the Secretary                         Chief Administrative Law Judge
Federal Trade Commission                        Federal Trade Commission
600 Pennsylvania Avenue, NW                     600 Pennsylvania Avenue, NW
Suite CC-5610                                   Suite H-110
Washington, DC 20580                            Washington, DC 20580
ElectronicFilings@ftc.gov
                                               Administrative Law Judge
Secretary of the Commission
Clerk of the Court
       I further certify that on September 29, 2022, I caused the foregoing document to
be served via email on:
David Z. Gringer                                Jonathan E. Paikin
Phoebe Silos                                    Jennifer Milici
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(617) 526-6000

                                                 /s/ Rebecca Plett
                                                Rebecca Plett




                                            2
                                                                         Attachment A

   Key To Columns A–H:




                                                                                                                                            Case: 24-60040
       What each column represents:
         (A) Included in count of 571 complaints in Diana Shiller’s Declaration (GX 342, “Shiller Dec.”), ¶ 220.
         (B) Included in count of “57 out of the 60 consumers thought they were filing for free”1 in Shiller Dec., ¶ 221.
         (C) Included in count of “27 out of the 60 consumers mentioned they saw advertising indicating their tax filing will be free” in
              Shiller Dec., ¶ 221.
         (D) Included in count of “55 out of the 60 consumers paid TurboTax” in Shiller Dec., ¶ 221.
         (E) After re-review, included in count of 228 complaints.2




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         (F) After re-review, included in count of “26 of 26 consumers indicated that they believed or TurboTax communicated that
              filing taxes with TurboTax would be free.”3
         (G) After re-review, included in count of “22 of 26 consumers mentioned advertising about a free TurboTax option.”
         (H) After re-review, included in count of “20 of 26 consumers indicated they were charged for or paid for TurboTax.”

       What column entries represent:
         Y    Yes, this complaint was included in the set of complaints described above after the review described in the Reply.
         N No, this complaint was not included in this set of complaints because, after review, it was determined that it should not be.




                                                                                                                                            Page: 7
         U Unclear whether this complaint should be included in this set of complaints after review, and therefore not included.
         [ ] Blank: this complaint was not reviewed for inclusion in this set of complaints because it was outside the relevant time
              period (columns B–D and F–G) or because it was excluded after re-review (columns F–G).




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     1 The 60 consumer complaints referenced in B–D encompass a sub-set of the complaints referenced in Column A, recorded in Sentinel

   between November 1, 2021 and March 28, 2022.
     2 The 228 complaints referenced in E are a sub-set of complaints referenced in Column A that, upon a more conservative re-review,

   were identified to be squarely relevant to Count One of the complaint.
     3 The 26 complaints referenced in F-G are a sub-set of the complaints referenced in Column E recorded in Sentinel between November

   1, 2021 and March 28, 2022.
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          135540801
   116.




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           133237474    Roy             Shillock       3/24/    Y               Y              Free tax filing bait & switch. Deceptive advertising, with the
    123.




                                                       2021                                    word 'guarantee', then charged low income filer who qualified for
                                                                                               free service $160. I was charged $160 on 3/2/2021 for a Turbotax
                                                                                               software that was advertised to me as free. Having made less




                                                                                                                                                                       Case: 24-60040
                                                                                               than $72,000 adjusted gross income, I was tricked by Intuit's
                                                                                               advertising for its 'FREE Guaranteed $0 Fed $0 State $0 to File.'
                                                                                               advertisement that I would not be charged. The linked disclaimer
                                                                                               included the following information, which I used to confirm that
                                                                                               I qualify for the free program: 'You can file with TurboTax Free
                                                                                               Edition if you have a simple tax return.**A simple tax return is
                                                                                               Form 1040 only OR Form 1040 + Unemployment Income.
                                                                                               Situations covered in TurboTax Free Edition include:W-2




                                                                                                                                                                       Document: 34-24
                                                                                               incomeLimited interest and dividend income reported on a 1099-
                                                                                               INT or 1099-DIVClaiming the standard deductionEarned Income
                                                                                               Tax Credit (EIC)Child tax creditsUnemployment income reported
                                                                                               on a 1099-GSituations not covered in TurboTax Free Edition
                                                                                               include:Itemized deductionsBusiness or 1099-NEC incomeStock
                                                                                               salesRental property incomeCredits, deductions and income
                                                                                               reported on schedules 1-3, such as the Student LoanInterest
                                                                                               DeductionHow does TurboTax make any money?Customers with
                                                                                               more complex tax situations will file with our other TurboTax
                                                                                               products that provide all the right forms and guidance they need.




                                                                                                                                                                       Page: 69
                                                                                               We also offer additional benefits that go beyond filing your taxes,
                                                                                               but they are completely optional and are not required to file your
                                                                                               taxes for free. Many of our customers value additional features
                                                                                               like:One-on-one help for answers, on demand with a TurboTax
                                                                                               specialistWith TurboTax Free Edition, the power to file for free




                                                                                                                                                                       Date Filed: 03/01/2024
                                                                                               isall yours!'While all of my filing requirements could be described
                                                                                               by items in the 'Situations not covered in TurboTax Free Edition
                                                                                               include:' list and none of my filing requirements could be
                                                                                               described by items in the 'Situations not covered in TurboTax
                                                                                               Free Edition include:' list, I was still charged. Trying to resolve
                                                                                               the issue directly with the firm was not successful. After
                                                                                               contacting customer service on 3/24 requesting a refund, I was
                                                                                               told that I was charged for the Delux package price and denied a
                                                                                               refund. I voiced the concern that this felt like a deceptive bait and
                                                                                               switch tactic and that I was not aware that I would be charged for
                                                                                               a Deluxe package as I had clicked on the 'FREE Guaranteed $0
                                                                                               Fed $0 State $0 to File package and that I indeed qualified for free
                                                                                               tax filing. --- Additional Comments: I request that I be issued a
                                                                                               refund.
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           135799773
    131.




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           133542764
    135.




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           132310903
    136.




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           130603671
    144.




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           130601403
    152.




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           131877671
    153.




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           122586271    KATHERINE       DELGRAND       7/15/    Y               Y              I was guaranteed submission of my taxes through TurboTax but
    177.




                                        E              2020                                    when I tried to submit them, my taxes were rejected. I should not
                                                                                               have to pay.On July 8th, I got a PNC email ad for TurboTax,




                                                                                                                                                                        Case: 24-60040
                                                                                               advertising free and easy tax help. On July 9th, I went online and
                                                                                               tried to proceed, but I could not continue without agreeing to pay
                                                                                               TurboTax $50 upfront. After I submitted the payment, I was able
                                                                                               to continue for a while with the tax submission process. But
                                                                                               throughout, TurboTax continued requiring me to pay for
                                                                                               upgrades and various necessary upcharges. After completing my
                                                                                               federal taxes, TurboTax required me to pay MORE money to file
                                                                                               my state taxes. Since I was already so far along with the process, I
                                                                                               decided I would pay the extra money to complete my state taxes




                                                                                                                                                                        Document: 34-24
                                                                                               as well and finish everything in one go. I ended up paying a total
                                                                                               of $115.52 on my VISA to TurboTax with the understanding that
                                                                                               they would help me complete my taxes.Finally, I submitted my
                                                                                               taxes and TurboTax said everything was sent and complete. One
                                                                                               hour later, TurboTax alerted me that my federal and state taxes
                                                                                               had been rejected. I tried to fix the issue on TurboTax, but was
                                                                                               unable to correct it with their website. I tried calling multiple
                                                                                               times (July 10th), but never heard back from anyone. I could not
                                                                                               reach anyone via phone. I still have not heard back (July 15th). I




                                                                                                                                                                        Page: 107
                                                                                               tried their chat function and their online help and FAQs, but
                                                                                               could not resolve my issue. I submitted questions and emailed
                                                                                               and got no response. I got no straight answers and could not
                                                                                               figure out how to proceed. I tried to fix my tax submission on
                                                                                               TurboTax with regards to what they said was wrong with my
                                                                                               submission the first time, but my submission was rejected again.




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                                                                                               Finally, with no response or adequate help from TurboTax and all
                                                                                               of my options exhausted, I had to turn elsewhere to file my taxes.
                                                                                               TurboTax has a 100% guarantee, at least that is what they say up
                                                                                               front, but there is so much legalese and fine print that I don't
                                                                                               know what I'm looking at anymore. I originally tried filing with
                                                                                               them because I was told it would be free for a simple return,
                                                                                               which mine is, and then I agreed to pay money when they said
                                                                                               my taxes didn't qualify for free service with the understanding
                                                                                               that my taxes would be filed with their easy program and
                                                                                               promised assistance. I did not receive adequate support and was
                                                                                               not able to complete my taxes with TurboTax, but they are still
                                                                                               requiring me to pay them for services (help and assistance) that I
                                                                                               never received. I am not satisfied with this service at all, and since
                                                                                               my taxes were not filed and I could not trust them to help me fix
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           120171808
    192.




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          117993039
   223.




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           117159737
    273.




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           115913012
    295.




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           116943226
    298.




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           116702124    Alexandra       Cooper         2/3/2    Y               Y              I did not get the service requested(efile my taxes). The employee
    300.




                                                       020                                     wanted me to falsify my tax documents so we could then efile. I
                                                                                               went through the process of filing my taxes on the TurboTax




                                                                                                                                                                         Case: 24-60040
                                                                                               website. I was under the impression it was free to e-file, as
                                                                                               advertised. Before it would let me e-file, it prompted me to pay a
                                                                                               filing fee of $40 for state and $40 for federal. After tax, the total
                                                                                               was $85.80. I paid the amount and was then informed I had to
                                                                                               mail my taxes with W2s attached because of a discrepancy on one
                                                                                               of the W2s. The discrepancy was the fact that one W2 did not
                                                                                               have any income in box 1. It was strictly for HSA contribution for
                                                                                               the year. I called TurboTax to explain I did not get the service I
                                                                                               requested (e-filing) and had to then pay another place for




                                                                                                                                                                         Document: 34-24
                                                                                               printing services so I could then mail my tax documents instead. I
                                                                                               spoke with a woman named Tracy @ 6:42pm on February 3, 2020.
                                                                                               She told me because I used the software they could not refund
                                                                                               me. I explained I did not get the service requested there for I
                                                                                               wanted a refund. I then asked why it is advertised as free if it's
                                                                                               not. She explained its free to start your taxes with them but there
                                                                                               is a fee to file. To me that is false advertising. She tried to rectify
                                                                                               the situation by walking me through how to e-file. She made me
                                                                                               go into my Federal documents, then to my W2 that had no




                                                                                                                                                                         Page: 177
                                                                                               income in box 1. She then wanted me to put $1 in that box. She
                                                                                               claimed that's the only way to be able to e-file. I explained to her
                                                                                               that I was under the impression you were supposed to enter the
                                                                                               information straight from your W2 and I was not comfortable
                                                                                               falsifying the documents. She claimed her team lead informed her
                                                                                               that doing this would not affect my taxes in any way. That the




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                                                                                               IRS does not care unless it affects my refund. I then asked how
                                                                                               she knew this. If I falsify documents and get audited I will have
                                                                                               to be the one to deal with the fines and consequences. I then
                                                                                               asked her if she works for the IRS and could confirm that it was
                                                                                               okay. She said no, but because she works for TurboTax she
                                                                                               knows. I then told her again I was not comfortable doing that,
                                                                                               that I would just mail the required documents instead. But I still
                                                                                               wanted a refund because I did not get the service requested or
                                                                                               advertised. She said she could not refund me because it was my
                                                                                               fault for using the software. I asked her if I could speak to her
                                                                                               team lead, she said no. I asked what the team leads name was,
                                                                                               she then told me she was not at liberty to give me that
                                                                                               information. I asked the speak to a supervisor and she told me
                                                                                               that was not possible. when I asked for a reference number for
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           115986840    Adam            Schulte        2/2/2    Y               Y              TurboTax Online forces unsuspecting people to pay to file even
    302.




                                                       020                                     though their app claims to be free. Never mentions their free file
                                                                                               option.I have used TurboTax online for several years, but now




                                                                                                                                                                       Case: 24-60040
                                                                                               that have started a practice to force unsuspecting people to pay
                                                                                               for services that used to be done free. Currently, they advertise
                                                                                               their basic product as 'free', but fail to disclose all the tax
                                                                                               situations that would force someone to upgrade until you get
                                                                                               deep into their product. These 'tax situations' now range from
                                                                                               someone having paid student loan interest, having a health
                                                                                               savings account, and so on. Again they never disclose any of this
                                                                                               up front. It is a false notion to advertise your product as free
                                                                                               when the vast majority of people that would use this would fail




                                                                                                                                                                       Document: 34-24
                                                                                               to qualify for a free return. People are promised a free return for
                                                                                               federal or state, but in the end give in and are forced to pay
                                                                                               because they must upgrade in order to submit their order.The
                                                                                               biggest thing here is that many of these people would
                                                                                               unknowingly qualify for a free refund with the IRS free file
                                                                                               program that is run through TurboTax itself. But at no time do
                                                                                               they ever inform us of that. At no point in using their program
                                                                                               did I find anything that would indicate that I could still get a free
                                                                                               filing, but at every corner there was a prompt to upgrade. I have




                                                                                                                                                                       Page: 180
                                                                                               to look for information from a third party (the actual IRS.gov
                                                                                               website) that showed that I qualify.So you have a situation
                                                                                               whereby many people who would qualify for a free refund, do
                                                                                               not know about a free file option because this business is not
                                                                                               transparent with their customers to let them know that they
                                                                                               qualify. If you install their base app you will get notifications to




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                                                                                               upgrade many times, and simply can't submit your return with
                                                                                               them until you pay up. And again, at no time in their base app
                                                                                               did I see anything about a free file option even though I qualified
                                                                                               for it. Once I followed the link on the IRS website to use
                                                                                               TurboTax as my free file program, all the data I had entered from
                                                                                               the previous use of the 'free' app was simply filled in and I was
                                                                                               ready to file.TurboTax has the ability to be open and transparent
                                                                                               about their free file option, but unless you know to look for it on
                                                                                               the IRS website, they say absolutely nothing about it. They are
                                                                                               essentially preying on unsuspecting people who get convinced by
                                                                                               them that they need to pay up, but would actually still qualify for
                                                                                               a free file. --- Additional Comments: That TurboTax simply be
                                                                                               much more transparent about the options available for their
                                                                                               customers. It would be nothing for them to simply let a customer
                                                                                174

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          116303069
   316.




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           116108173
    318.




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           115093826
    321.




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           108309153    Connor          Benbrook       5/20/    Y               Y              Deceptive direct advertisements. Unneeded up charging.
    342.




                                                       2019                                    Inability and refusal for any form of compensation upon
                                                                                               contacting the company. Earlier this year I filed my taxes via the




                                                                                                                                                                      Case: 24-60040
                                                                                               'free' TurboTax. Despite according to the IRS fully qualifying for
                                                                                               the deceptively named 'freedom edition' the service rep that I
                                                                                               spoke to told me I HAD to upgrade to the 'deluxe' version of the
                                                                                               'free' filing software in order to file. This ended up charging me
                                                                                               $144.97. Upon doing this I was locked out of the services that
                                                                                               should be provided via the deluxe edition, namely the ability to
                                                                                               check my credit score. If I attempt to check the score I get sent
                                                                                               into a recursive loop with no error message and no credit score
                                                                                               shown. When I contacted the company for the credit score issue




                                                                                                                                                                      Document: 34-24
                                                                                               they informed me that their system was down after two
                                                                                               escalations. I have attemped to check the score over a dozen times
                                                                                               this year with the same issue. This has happened to me three
                                                                                               times over 4 months leading me to the conclusion that the service
                                                                                               is not ever available. But more annoyingly is how their
                                                                                               representative forced me into an upsale and did not inform me of
                                                                                               my ability to file for free. This roughly 145$ charge was not
                                                                                               needed and the customer services representatives refuse to
                                                                                               refund or credit my account despite their mistake. The fact that




                                                                                                                                                                      Page: 201
                                                                                               their 'free file' is not free and that the actual free file is named
                                                                                               'freedom edition' is morally objectionable and a disgusting
                                                                                               business practice. After being stuck on various low level techs, on
                                                                                               hold, or waiting for a call back, for over a cumulative 5 hours
                                                                                               today a service rep refused to offer any form of compensation
                                                                                               and said they could only offer an email with a link to the proper




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                                                                                               service for next year before eventually hanging up on me. The
                                                                                               combination of misleading product names, refusal to remedy the
                                                                                               situation, inept customer service representatives has left me
                                                                                               utterly disappointing in this company. --- Additional Comments:
                                                                                               At this point I would accept a return of my money spent. A credit
                                                                                               of the same amount for the future. An apology from someone
                                                                                               with weight in the company. A publicly sent apology or
                                                                                               explanation of services. For the company to stop falsely
                                                                                               advertising its services as free. For the company to hold
                                                                                               mandatory employee updates so they understand the full breadth
                                                                                               of services offered and do not tell consumers that the only option
                                                                                               is a paid version when they qualify for the free. For the services I
                                                                                               did pay for to actual work. To have the company rename its
                                                                                               available services to actually match what is offered.
                                                                                195

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           107952279    Namcheol        Paek           5/7/2    Y               Y              Cheat free service on advertise.Find service fee at the end of
    355.




                                                       019                                     process. I already spend time with labor for processing. one way
                                                                                               progress with no turn.I used turbo tax service as of March 10,




                                                                                                                                                                        Case: 24-60040
                                                                                               2019. I just trust 'Free tax advertisement' on internet but find it
                                                                                               was not free at the end of service after completing process. I was
                                                                                               tired to put all information what they asked and spent time
                                                                                               already. Even if I can cancel or stop this service , I worried about
                                                                                               my all security information regarding financial or personal
                                                                                               sensitive data if cancel or not pay. It feel like one way without
                                                                                               user's choice and scare to lose personal finance information. That
                                                                                               is why I have to select ' Pay option'. I have worried still and I also
                                                                                               find they push me to withdraw the charge fee from my bank




                                                                                                                                                                        Document: 34-24
                                                                                               account. I don't have any tax refund from IRS yet. My feeling is
                                                                                               still bad and worry to take money from my account. How they
                                                                                               still keep my info and know about my bank account. I
                                                                                               summarize following issues against turbo tax.1. Cheating free
                                                                                               service on advertisement2. Compulsive charge fee with one way
                                                                                               process at the end of completion by being worried revelation of
                                                                                               personal information to trubo tax. 3. Feel like threatening for
                                                                                               taking money from my bank account even if not tax return yet. 4.
                                                                                               It is not the issue of charge fee but also revelation of personal




                                                                                                                                                                        Page: 209
                                                                                               information including financial date. Turbo tax charged $ 44. 99
                                                                                               for turbo tax premium service or Turbo Tax Max fee and $ 99.98
                                                                                               for Fees for turbo tax fees. They charged total $ 144.97My tax
                                                                                               report is simple and no complicated. I can do if I knows it was
                                                                                               not free without revealing my personal info. --- Additional
                                                                                               Comments: First, I want to know whether removing all my




                                                                                                                                                                        Date Filed: 03/01/2024
                                                                                               information from their system. Second, I want to know how they
                                                                                               guarantee to be removed my personal information from your
                                                                                               system. I wonder about why turbo tax ask another charge in the
                                                                                               name of security fee to protect personal info. I did not this option
                                                                                               but worry about remaining my information in your system.
                                                                                               Third, Regarding charge the service fee. Please explain that it is
                                                                                               my fault if have, about non-free service from before starting the
                                                                                               process. Fourth, Stop withdraw the service fee from my bank
                                                                                               account without my agreement until completing tax refund, If I
                                                                                               have to pay the fee. In this case, turbo tax must explain what is
                                                                                               my fault about charged fee first such as missing guidance on fee
                                                                                               at the beginning the service.



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           107355463
    379.




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           107259126    Faith           Rojas-Taylor   4/16/    Y               Y              Advertises free filing for federal & state taxes. Filing a schedule 1
    382.




                                                       2019                                    form requires I upgrade to a deluxe version of their services
                                                                                               without disclosureI logged onto website, began to file my taxes,




                                                                                                                                                                       Case: 24-60040
                                                                                               was offered deluxe package and declined. Upon last steps to file I
                                                                                               was informed that a schedule 1 had been filed for adjustment of
                                                                                               income & I was required to upgrade to deluxe. I had several pop
                                                                                               us that asked me to upgrade & was allowed to decline. The
                                                                                               message that indicated that I was filing a schedule 1 never
                                                                                               indicated which portion of my taxes prompted the form. No
                                                                                               explanation of possible sources (income, education expenses, etc.)
                                                                                               but that it was required for me to pay. After payment, I saw on
                                                                                               my tax form that it was my student loan interest payments. I was




                                                                                                                                                                       Document: 34-24
                                                                                               also told my payment was non-refundable when taken on
                                                                                               website and nowhere did it state so during the checkout process.
                                                                                               After contacting their customer service I was told that a schedule
                                                                                               1 could refer to all sorts of things and I would've needed to call to
                                                                                               figure it out. The company offered to fix this issue in the future
                                                                                               but said they could not issue a refund and hung up on me. I
                                                                                               explained to company that the pop up should have required me
                                                                                               to upgrade once entering in information rather than the screen
                                                                                               before payment and should have indicated possible information




                                                                                                                                                                       Page: 230
                                                                                               that was causing me as a consumer to file a schedule 1. The
                                                                                               company should also disclose that payments are non-refundable
                                                                                               clearly for customer to see at time of debit card entry. The whole
                                                                                               premise of turbo tax is a self-serve option. I should not have to
                                                                                               call in to customer for explanation of their online product.
                                                                                               Company has issued a partial refund of $74.99 which I am




                                                                                                                                                                       Date Filed: 03/01/2024
                                                                                               grateful for, however, I do believe I'm owed a full refund as
                                                                                               remainder of charges stemmed from me having to upgrade to
                                                                                               deluxe package. Without this upgrade, I would not have been
                                                                                               prompted to pay for my state returns. Conclusion: Company
                                                                                               should clearly disclose what items within product are causing
                                                                                               company to forcibly charge an upgraded fee and give customer
                                                                                               option of editing their tax deductions based on new price of
                                                                                               product. Company is also not disclosing that 1040A filing is no
                                                                                               longer offered by government and what kind of form I would be
                                                                                               filing. --- Additional Comments: Refund of additional $74.99. No
                                                                                               email is provided for credit but only notated on the company's
                                                                                               end only case number and promise of representative that issue
                                                                                               will be given back to card. I have no proof of my own that
                                                                                               company promised to refund amount other than case number
                                                                                224

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          107755033
   387.




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           107042564    Diane           Harlow         4/10/    Y               Y              Tax filing advertised as free. Co. had stored my tax info and
    394.




                                                       2019                                    knew with new required form that I would need to upgrade and
                                                                                               and have to pay, but didnt Problem date 4-9-18. I have filed taxes




                                                                                                                                                                      Case: 24-60040
                                                                                               with Intuit's 'TurboTax' for several years. Company advertised
                                                                                               this years online preparation at no cost, including guaranteed $0
                                                                                               Federal, $0 State, and $0 to e-file. One of the advantages of using
                                                                                               'TurboTax' is that their company saves much of your personal tax
                                                                                               information in order to save you time when it is time to file next
                                                                                               tax year. When you come back to use 'TurboTax' the following
                                                                                               year the saved information is automatically filled into the taz
                                                                                               return you are preparing. Part of this information is associated
                                                                                               with Obamacare a.k.a. the Affordable Healthcare Act. My saved




                                                                                                                                                                      Document: 34-24
                                                                                               information included A.H.A. information, thus providing Intuit
                                                                                               'TurboTax' and its programs and or affiliates with the fact that I
                                                                                               may be subject to having to complete I.R.S. tax form 1040
                                                                                               schedule 2. I was in fact according to 'Turbotax' required to
                                                                                               complete this 4-line form. I was notified of this requirement 2/3
                                                                                               to 3/4 of the way thru the preparation of my 'Turbotax' Federal
                                                                                               return and at that point was also notified that because I had to
                                                                                               complete this 4-line form, that I was required to upgrade to their
                                                                                               'deluxe' preperation option at a cost of $59.99. No special 'deluxe'




                                                                                                                                                                      Page: 241
                                                                                               package was required for my state taxes, yet 'Turbotax''s $0
                                                                                               guaranteed state tax return also ended up no being the case and I
                                                                                               was charged $44.99 for preparing my state taxes for no apparent
                                                                                               reason, with no explanation as to why I has to pay a state fee,
                                                                                               when that return only consisted of a standard 2-page D-400 state
                                                                                               return with no additional state forms needed. Considering that




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                                                                                               'Turbotax' had my tax info previously stored and there was a
                                                                                               easily perceived belief that many customers covered under the
                                                                                               A.H.A. would need to complete the new 'Schedule 2' form,
                                                                                               'Turbotax' should have not only notified their users, upon login,
                                                                                               that because of A.H.A. changes they may need to upgrade to a
                                                                                               paid 'upgrade' preparation, they should have at the least notified
                                                                                               preparer's at an earlier point, when most people are just going to
                                                                                               continue with the return after the amount of time they had
                                                                                               already invested in preparing. In consumers eye's, in my eyes, I
                                                                                               view this at a minimum of false advertising, and at the extreme,
                                                                                               unfair and deceptive trade practices. Problem date 04-10-2018
                                                                                               Purchase date 04-10-2018 Order Number- TTWC92727311
                                                                                               Account Number                               Order under name:
                                                                                               Garren Harlow Payment Amount- $104.98 Payment Method-
                                                                                235

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           105513881    Kristen         Marcum         2/28/    Y               Y              TurboTax took over $160 from my tax return and when I asked
    413.




                                                       2019                                    for a refund I was told I could get one but never did.Customer
                                                                                               service is nonexistent now On 2/5/2019 I filed my taxes through




                                                                                                                                                                    Case: 24-60040
                                                                                               TurboTax. This is the tax system I have used for the past three
                                                                                               years so I knew it was reliable. However, very quick into the
                                                                                               filing process I was told that in order to continue filing I would
                                                                                               need to purchase TurboTax Deluxe for $39.00 because I was filing
                                                                                               a Schedule 1 form (my student loan interest paid). I had never
                                                                                               had this issue the past two years and was surprised by this new
                                                                                               rule, but I decided to go ahead and pay the $39.00 to upgrade to
                                                                                               deluxe so I could finish up with my taxes. Prior to purchasing
                                                                                               the Deluxe edition I had already completed both the Ohio and




                                                                                                                                                                    Document: 34-24
                                                                                               South Carolina state taxes portion and they were both accepted.
                                                                                               However, after signing a form allowing for TurboTax to deduct
                                                                                               the $39.00 from my taxes for the Deluxe edition to process my
                                                                                               student loan interest I was taken to a page that showed I was
                                                                                               actually charged $127.33. I went back to my TurboTax account to
                                                                                               see what the extra charges were and found out that by upgrading
                                                                                               to Deluxe I was charged not only the $39.00 that I knew i would
                                                                                               be getting charged, but $39.00 was charged for my Ohio state
                                                                                               taxes and another $39.00 for my South Carolina state taxes.




                                                                                                                                                                    Page: 252
                                                                                               Seeing as how my state taxes were completed and accepted
                                                                                               without issue before my purchase of the Deluxe edition, I knew
                                                                                               something wasn't right. I reached out to customer service via
                                                                                               Twitter and got into contact with someone named Anna. When I
                                                                                               explained to her my issue she said that she would issue me a
                                                                                               partial refund. I responded asking why it would only be a partail




                                                                                                                                                                    Date Filed: 03/01/2024
                                                                                               refund as I was charged for two services that I absolutley did not
                                                                                               need and I would like to be refunded for the full $80, to which
                                                                                               she never responded. I kept tyring to reach out for over a week
                                                                                               with no response. When I let her know that I would be filing a
                                                                                               complaint with the BBB she finally responded saying she had a
                                                                                               glitch in her system and that's why she couldn't respond to my
                                                                                               messages. She provided an email that I should reach out to in
                                                                                               order to complete my refund process. I sent numerous email to
                                                                                               no response. I even reached out a few more times via Twitter
                                                                                               with no new responses. At this point, customer service is
                                                                                               completely nonexistent. Additionally, when choosing to have my
                                                                                               tax refund directly deposited into my account in previous years,
                                                                                               there was no charge. This year however, TurboTax had my
                                                                                               refund be directly deposited by some third party and they took
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          104161260
   421.




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           105253407    George          Barron         2/3/2    Y               Y              False advertising and unfair/intentionally tricky hidden chargesI
    439.




                                                       019                                     filed my taxes with Intuit today (2/3/19).They advertised free
                                                                                               federal and state returns, but I encountered a very basic piece of




                                                                                                                                                                      Case: 24-60040
                                                                                               tax information that they wouldn't accept without forcing me to
                                                                                               upgrade to their 'Deluxe' package. This was a 1099-R form, a very
                                                                                               basic form for retirement funds. I kind of understood charging for
                                                                                               that.Then I got to the state portion, and they charged me $39.99
                                                                                               additional per state, just because I was using the Deluxe package.
                                                                                               This offered me no benefits on my state returns, but I got stuck
                                                                                               paying an additional $80 total for two state returns just because I
                                                                                               needed the deluxe package for ONE form on my federal returns.
                                                                                               This means they charged me- a paying customer- for a service




                                                                                                                                                                      Document: 34-24
                                                                                               they offer and advertise for free, to their free customers. This is
                                                                                               messed up.Then, additionally, I selected to pay for my services
                                                                                               via my tax return as I've done with them in the past years. This all
                                                                                               went fine until the final confirmation screen where it showed my
                                                                                               total charges as $160. But that doesn't add up- $40 for deluxe, $80
                                                                                               for the bogus state return charges... where are the other $40
                                                                                               coming from?After scouring through their help documents, I
                                                                                               finally found out one line: 'You can pay your Deluxe addition
                                                                                               with one charge of $39.99 with your tax return.' That doesn't




                                                                                                                                                                      Page: 270
                                                                                               mean you're paying the Deluxe addition charge OF $39.99, it
                                                                                               means they're charging you another $39.99 for this service. They
                                                                                               ALSO don't charge free customers to pay with their tax returns.
                                                                                               This is ludicrous. This means they're charging me for not one but
                                                                                               two features that FREE customers don't get charged for. Even
                                                                                               more, they intentionally hid this charge, never notified me of the




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                                                                                               extra charge, and made it the exact same dollar amount and the
                                                                                               same name on the line item breakdown of charges. This is clearly
                                                                                               intended to mislead customers into missing this additional
                                                                                               charge. I had to back all the way out of the process and pay in
                                                                                               advance instead.Furthermore, while doing my taxes this year
                                                                                               with them I noticed something extra. 'Help' features that were
                                                                                               available last year to assist you in the process of doing your taxes
                                                                                               were inexplicably missing from many of the pages that I know for
                                                                                               a fact they were on last year. I couldn't figure this out until the
                                                                                               3rd time they sent a pop-up advertisement for their 'Live
                                                                                               Assistance' package. They intentionally made their service harder
                                                                                               to use so that they could foist additional charges on people for
                                                                                               assistance using it. This is despicable.So as a PAYING customer
                                                                                               they not only charged me for two features FREE customers don't
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         95594624
  461.




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           94163644     Jill            Homiak         3/7/2    Y               Y              To Whom It May Concern:I'm writing with an issue I had using
    480.




                                                       018                                     TurboTax.com to file my taxes. I went to the company website,
                                                                                               where it states on the homepage, 'Absolutezero Guaranteed $0




                                                                                                                                                                       Case: 24-60040
                                                                                               Fed. $0 State. $0 to File. Forms 1040EZ/1040A, limited time only.
                                                                                               Returns must be filed before offer ends.' I filed my taxes before
                                                                                               the offer ended, yet when I came to the button that said, 'File', I
                                                                                               was shown a payment page where I had to pay for using
                                                                                               TurboTax in order to file. I was stunned and actually thought I'd
                                                                                               reached the page in error. I called two representatives who both
                                                                                               told me the best thing to do was hit the Clear button and start all
                                                                                               over if I wanted to get this 'free' offer. (Both of them said that by
                                                                                               hitting the Expert button, I was being charge for an additional




                                                                                                                                                                       Document: 34-24
                                                                                               service that was not in fact free.) I told both of them that that was
                                                                                               not a solution to my issue, as I'd just spent over 3 hours using the
                                                                                               online program to prepare and file my taxes in time for the $0
                                                                                               offer. When the first woman said I had a payment due because I'd
                                                                                               hit the 'Expert' button for help, I told her that no where while
                                                                                               clicking through the forms did any fee amounts showed up
                                                                                               telling me that I owed or would owe anything based on the way
                                                                                               in which I was filing, nor did it tell me I would have to pay for
                                                                                               anything before of after clicking the 'Expert' button. Since I did




                                                                                                                                                                       Page: 295
                                                                                               not get a sufficient answer upon my first call, I called again to see
                                                                                               if I could escalate the matter. I was told by the second person
                                                                                               with whom I spoke that I would receive an email or phone call in
                                                                                               follow up to my issue. I told the second woman that it was false
                                                                                               advertising and a fraud that TurboTax was now charing me for a
                                                                                               something I thought would be $0 total, only to spend $223.97 in




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                                                                                               order to file my taxes. If the software informed me along the way
                                                                                               that I would be responsible for paying based on something I was
                                                                                               doing (that did not fall under the $0 offer) while using the
                                                                                               software, that would be appropriate. In this case, I was tricked
                                                                                               into paying for services that was advertised as being free of
                                                                                               charge. I look forward to hearing back from the BBB in regards
                                                                                               to this matter. Thank you for your
                                                                                               time.Best,JillProduct_Or_Service: Online Tax
                                                                                               ServiceOrder_Number: TTWQP1QZ25554992 --- Additional
                                                                                               Comments: DesiredSettlementID: Other (requires explanation)A
                                                                                               full refund of my money for the taxes and Federal and State
                                                                                               filings. QtyItemAmount1TURBOTAX ONLINE STATE VA TAX
                                                                                               YEAR 2017 PREP$36.991TURBOTAX ONLINE STATE DC TAX

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           93761132
    493.




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           93557391     Nina            Roselle        2/4/2    Y               Y              Intuit advertised free filing of State and Federal Income taxes, but
    495.




                                                       018                                     does not tell you upfront that it will charge you $72 unless you
                                                                                               have a code2/4/18Good Afternoon,I started filing my income




                                                                                                                                                                       Case: 24-60040
                                                                                               taxes thinking, as advertised, I was filing my return for free.
                                                                                               When I completed the entire return, I was being charged $72, but
                                                                                               advised to call for a service code. I called for the code and was
                                                                                               told they needed to access my computer to help me. I said I just
                                                                                               needed the code for free filing. I was then transferred to someone
                                                                                               else. The next person was a CPA. I explained the situation and
                                                                                               was told again they had to access my computer to provide a code.
                                                                                               I responded that it didn't sound right to have to give access to my
                                                                                               computer. The CPA then said, well that was their policy, she had




                                                                                                                                                                       Document: 34-24
                                                                                               been a CPA for seven years, Intuit had a privacy policy and
                                                                                               would not release any information. It did not sound appropriate
                                                                                               for someone to have to access a computer to provide a billing
                                                                                               code. I told the young woman that I was a paralegal and would
                                                                                               need to check the legality of anyone getting access to my
                                                                                               computer. When I mentioned I was a paralegal she asked for my
                                                                                               e-mail address. I received an e-mail from someone named 'Katie'
                                                                                               advising they would not provide a code with no other
                                                                                               explanation.I have called and asked to speak with a supervisor or




                                                                                                                                                                       Page: 305
                                                                                               manager. I was put on hold for approximately eight (8) minutes,
                                                                                               then told no supervisor was available. That it would take an hour
                                                                                               for someone to call me back. I called at 1:17 pm, it is now after
                                                                                               2:00 pm. I suspect I won't be getting a call back from anyone.The
                                                                                               issue is, one should not be forced to get a code to file for free at
                                                                                               the end of filing. The information that a code is required should




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                                                                                               be provided at the beginning of the process, so that the consumer
                                                                                               knows right away if they are eligible, what the costs are, and can
                                                                                               make an informed choice of whether or not to proceed. If the
                                                                                               offer has expired, the consumer should know that as well, up
                                                                                               front, not after they have already provided personal information
                                                                                               and completed their taxes.Finally, to request access to someone's
                                                                                               private computer for any reason other than technical support
                                                                                               seems absolutely dishonest. I've never heard of such a thing.I am
                                                                                               going to go ahead and file, hoping that the company will return
                                                                                               my money and that there will be no other difficulties with my
                                                                                               return. If there are, I will contact you again with an addendum to
                                                                                               this complaint.Sincerely,Nina Roselle --- Additional Comments: I
                                                                                               see a refund of all fees paid, since filing for zero was the reason I

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           93139777     Enoch D         Owen           1/23/    Y               Y              I recently used this company's online tax filing service. They
    498.




                                                       2018                                    indicate that the service is 100% free to use. During the checkout
                                                                                               process 2 charges were added to my order, one for $29.99 and one




                                                                                                                                                                      Case: 24-60040
                                                                                               for 39.99 for a 'premium service', this premium service I did not
                                                                                               want to use but the purchase flow will not allow you to remove it
                                                                                               from the order. I looked up the support instructions and here is
                                                                                               what It says word for word. 'Here's how to delete Premium
                                                                                               Services from your purchase' followed by these steps, 1. Sign in to
                                                                                               your Intuit Account, then select the Take Me To My Return
                                                                                               button at the bottom of the main screen.2. Select File, which you'll
                                                                                               find on the navigation bar on the left-hand side of your screen.3.
                                                                                               Select Start next to Step 1 - Review your order.4. If you don't see




                                                                                                                                                                      Document: 34-24
                                                                                               this, select Revisit next to You've chosen to deduct your TurboTax
                                                                                               fees'When you get to your order summary, select Remove at the
                                                                                               bottom of the Premium Services benefits section.These steps don't
                                                                                               work, however, at the bottom of the page it says this 'You don't
                                                                                               need to clear your return and start over to remove Premium
                                                                                               Services' You can find the help center document here
                                                                                               https://ttlc.intuit.com/questions/2154391-how-do-i-remove-
                                                                                               premium-services-from-my-purchase'jump_to
                                                                                               =answer_3625003Both these statements make it clear that I can




                                                                                                                                                                      Page: 307
                                                                                               remove the premium service AFTER my order is complete and I
                                                                                               DO NOT need to cancel and start a new purchase. After
                                                                                               reviewing this help center information I finished my order and
                                                                                               attempted to follow the instructions above, but again they did not
                                                                                               allow me to remove the premium purchase. I contacted their
                                                                                               support team and was told because the order was 'completed'




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                                                                                               they can not remove the premium service. I can not allow this, I
                                                                                               never agreed to this additional cost and I followed the help center
                                                                                               instructions to remove it only to be told forced into this and in so
                                                                                               doing losing 39.99$Product_Or_Service: Tax filling Online ---
                                                                                               Additional Comments: DesiredSettlementID: Other (requires
                                                                                               explanation)This company is using highly deceptive sales
                                                                                               practices that force customers to purchases 'extras' they do not
                                                                                               want, they make it seem like its free when you can not complete a
                                                                                               purchase 100% free. The help center documentation is unclear
                                                                                               and if you follow the instructions you are forced into a purchase
                                                                                               you do not want. The Customer support rep agreed with me and
                                                                                               said he has been receiving calls like mine all day and hopes they
                                                                                               'Make it more clear in the help center documentation' Even their
                                                                                               own employee's admit this is wrong..I would like a refund of the
                                                                                301

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           83945941
    508.




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          82399542
   517.




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           82872592
    519.




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            82317331
     528.




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           81670349     Darius          Chavis         2/9/2    Y               Y              Turbo Tax offers a free way to file your taxes online but, when I
    540.




                                                       017                                     attempted to do this, you end up having to by the software and
                                                                                               they (Turbo Tax) decides what level of the software you should




                                                                                                                                                                      Case: 24-60040
                                                                                               purchases. Now, I have been my own taxes for approximately 30
                                                                                               years, (I usually use HRBlock tax software, but for some reason it
                                                                                               would not allow downloading the premium package on the
                                                                                               business package. I called and spoke with someone from
                                                                                               HRBlock and they tried to assist me with the issue and to no
                                                                                               avail, they decided to refund my money. On February 5, 2017, I
                                                                                               decided to try after, what I thought was, careful research
                                                                                               regarding the product, I proceeded to the Turbo Tax software
                                                                                               because they advertise that it is free. You are required to start




                                                                                                                                                                      Document: 34-24
                                                                                               your tax filing process and by the time you are finished entering
                                                                                               the appropriate information a screen will pops up stating which
                                                                                               software you should buy. So it?s not FREE AS IT IS
                                                                                               ADVERTISED!. So, against my better judgment, I decided to by
                                                                                               the $55.00 package and complete the filing of my taxes. When you
                                                                                               enter your credit card information the correct price, in my case
                                                                                               the $55.00 package, when you hit submit you are charged for an
                                                                                               additional package that you did not request. I called the Turbo
                                                                                               Tax people immediately informed them of the error and I was




                                                                                                                                                                      Page: 335
                                                                                               told that if I submitted my taxes there would be nothing they
                                                                                               could do. Fortunately the CSR I spoke could see that my taxes
                                                                                               were not filed and stated the transaction was pending so I should
                                                                                               not have a problem. After the CSR kept me hold for a long
                                                                                               period of time stating she was contacting the appropriate parties
                                                                                               within the company, eventually told me that I would be charged




                                                                                                                                                                      Date Filed: 03/01/2024
                                                                                               for the transaction and no monies will be returned to me. The
                                                                                               CSR did not even car that I was charged more than I authorized!
                                                                                               I did get in touch with my bank the same day and informed them
                                                                                               of same. I was informed that they will try but sometimes when
                                                                                               you hit submit (it will be something to the effect of a no refund
                                                                                               policy or something), there may not be anything that can be done.
                                                                                               Also, to top it off, I do not even have access to the software as of
                                                                                               the date of this complaint to you. I believe...no I am positive that
                                                                                               this practice by Turbo Tax is prevalent and people are being
                                                                                               cheated out of hundreds dollars with the fraudulent way they
                                                                                               cram extra money onto your credit card. PLEASE
                                                                                               HELP!Product_Or_Service: Turbo Tax SoftwareOrder_Number:
                                                                                               TTWQP1F34530683 --- Additional Comments:
                                                                                               DesiredSettlementID: Other (requires explanation)FULL
                                                                                329

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           81489867     Sha             Liu            2/3/2    Y               Y              i was charged by the amount more than I expected per its adi was
    541.




                                                       017                                     using turbotax absolute zero to file my 2016 tax returns. After I
                                                                                               finished the federal tax and both state tax returns, it brings me to




                                                                                                                                                                       Case: 24-60040
                                                                                               the page that showed me both my state tax returns can be filed
                                                                                               for free. Then I clicked 'continue', it comes to the page showed me
                                                                                               that I would need purchase the Deluxe service because my
                                                                                               special federal return situation. On the webpage, it showed me
                                                                                               that this Deluxe service will cost me $34.99. So i clicked 'continue'
                                                                                               and come to the next page, i inputted my credit card info etc.
                                                                                               However, after I inputted my credit card and Turbo Tax process
                                                                                               my payment, it came to my that this order costed about $120. I
                                                                                               was charged additional for my two state tax returns. There was




                                                                                                                                                                       Document: 34-24
                                                                                               no subtotal or anything shows me the final amounts i will be
                                                                                               charged before my card was charged. I was under the impression
                                                                                               that I will only need to pay $34.99 for my federal tax return and
                                                                                               file my two state tax returns for free as the webpage I saw before.
                                                                                               I have contacted the customer service immediately to request
                                                                                               cancel my purchase and refund. However, they were saying that
                                                                                               they were not able to do anything after the payment was made.
                                                                                               Also, they have looked back in my past returns(which I used
                                                                                               turbo tax) as well, they have specific mentioned to me that since I




                                                                                                                                                                       Page: 337
                                                                                               was get charged for state tax return last year, I won't be able to do
                                                                                               the state tax return free this year. This doesn't make sense to me
                                                                                               that how much i will be charged is based on what I was charged
                                                                                               last year. Before I put in my credit card info, i was under the
                                                                                               impression that i will only pay for $34.99 for the service(or
                                                                                               around that amount plus sales taxes etc.) as I have been notified




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                                                                                               during the return preparation process that my two state tax
                                                                                               returns will be filed for free. on the page where Turbo tax
                                                                                               suggested me buy Deluxe service, there was no warning that I
                                                                                               will be charged for state tax returns. the only price they were
                                                                                               showing on the page was that i will be charged for $34.99.
                                                                                               combine with what I was notified before, the state tax will be
                                                                                               filed for free, I was not expecting to paying any more than $34.99
                                                                                               as stated on the ad. there was no webpage showed me how much
                                                                                               in total i will be charged for.Now,when I log out my account and
                                                                                               check on Turbo tax website, I can see that they have very tiny font
                                                                                               under product 'deluxe' mentioned that 'state additional'.
                                                                                               However, when I was in the middle of preparing my tax returns,
                                                                                               on the webpage that suggests me to make a purchase, there was
                                                                                               no warning or anything mention that there will be additional
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           81460391     David           Sampson        1/25/    Y               Y              Turbo Tax up sold me/changed my order to Deluxe failing to
    542.




                                                       2017                                    offer the free state return I had chosen the free option to get. I
                                                                                               tried to use the turbo tax free edition, was upgraded to the




                                                                                                                                                                        Case: 24-60040
                                                                                               Deluxe. I wanted to file my state return for free as advertised. I
                                                                                               had Turbo Tax call me via the website.Was told 1. Then that is
                                                                                               what you pay. 2.The free was not an online offer, Turbo Tax is an
                                                                                               online software. 2. The Free option was only available with the
                                                                                               store purchased version of the software.It is not, the store version
                                                                                               charges less then the online at $19.99, but is not free. I am a return
                                                                                               customer and do not like paying more for something I do not
                                                                                               need. $36.99 to file state$34.99 for preparationTotal (2
                                                                                               items):$71.98I used the link From their




                                                                                                                                                                        Document: 34-24
                                                                                               website:https://myturbotax.intuit.com/Linkhttps://turbotax.int
                                                                                               uit.com/modals/absolutezero/Zero hidden costs1040EZ/AWhat
                                                                                               does Absolute Zero really mean?It means you pay absolutely
                                                                                               nothing to file your taxes--from start to finish.Seriously, pay
                                                                                               nothing?Yes. For the third year with Absolute Zero, 60 million
                                                                                               hard-working Americans can file their federal 1040EZ/A and
                                                                                               state taxes for free. No tax knowledge needed! In general, you'll
                                                                                               qualify to file state and federal taxes at no cost if you:Made less
                                                                                               than 100kDon't own a home or rental propertyDidn't sell




                                                                                                                                                                        Page: 339
                                                                                               investmentsDon't own a business or have 1099 incomeDon't have
                                                                                               major medical expensesWhat's the catch? How does TurboTax
                                                                                               make any money?There's really no catch. Millions of our
                                                                                               customers have already filed absolutely free.We're investing in
                                                                                               you, by giving you the power to do your own taxes and take
                                                                                               control of your finances. We're here to help-now, and in the




                                                                                                                                                                        Date Filed: 03/01/2024
                                                                                               future. So, down the road, if you buy a house, sell investments,
                                                                                               start freelancing, or have big life changes, you'll be really
                                                                                               comfortable doing your own taxes. We hope you'll choose one of
                                                                                               our reasonably priced products like Deluxe, Premier, or Self-
                                                                                               Employed to help you get your maximum refund, guaranteed
                                                                                               and your taxes done right.What do I get with Absolute
                                                                                               Zero?You're getting our very popular Federal Free Edition loaded
                                                                                               with great features. So, in addition to not paying for super-easy
                                                                                               state and federal prep, we don't charge you for any of these
                                                                                               features:Jumpstart your refund by snapping a photo of your W-
                                                                                               2Claim the Earned Income Credit ($2,400 IRS average for
                                                                                               2014)Get the green light to file with CompleteCheckTMKnow the
                                                                                               'whys' behind your refund with ExplainWhyTMGet self-help
                                                                                               tools and 24/7 support from our tax communityWhat now?To
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           71663206
    548.




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         90460106
  551.




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           71258689
    553.




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